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 2   Paul S. Stewart, WSBA No. 45469
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 6    paul.stewart@painehamblen.com
 7   Attorneys for Defendants Ward
 8

 9
10

11                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
12

13   GREGORY R. BUTCHER and                    )
     SHARON L. BRYANT-BUTCHER,                 )   No.
14                                             )
     husband and wife,
                                               )   NOTICE OF REMOVAL
15                                             )
                           Plaintiffs,         )
16
                                               )
17   vs.                                       )
                                               )
18                                             )
     STEPHEN H. WARD and MARIA
                                               )
19   WARD, husband and wife, and               )
     OVERLAND WEST, INC.                       )
20
                                               )
21                         Defendants.         )
                                               )
22

23         Defendants Stephen H. Ward and Maria Ward, by and through their
24
     attorneys, Scott C. Cifrese and Paul S. Stewart of Paine Hamblen LLP, hereby
25
     gives notice of removal, pursuant to 28 U.S.C. § 1446, of the above-entitled
26
27   NOTICE OF REMOVAL - PAGE 1                                         PAINE HAMBLEN LLP
                                                         717 WEST SPRAGUE AVENUE, SUITE 1200
28                                                            SPOKANE, WASHINGTON 99201-3505
                                                                          PHONE (509) 455-6000
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 1   action from the Spokane County Superior Court to the United States District
 2
     Court for the Eastern District of Washington.
 3

 4         1.     The above-entitled action was filed on March 1, 2021, in Spokane
 5   County Superior Court, under Cause No. 21-2-00541-32. Attached as Exhibit 1
 6
     is a true and correct copy of all the pleadings filed to date in the Spokane County
 7

 8   action. The Complaint alleges personal injury arising from a motor vehicle
 9   accident that occurred between Plaintiffs Butcher and Defendants Ward on
10
     March 2, 2018.
11

12         2.     On May 27, 2021, Defendant Overland West, Inc. was served with
13   the Summons and Complaint. See Ex. 1 at 11. Upon information and belief,
14
     Overland West, a rental car company from which the Wards rented their vehicle
15

16   allegedly involved in this accident, is immune from this action, and should not
17   have been named as a defendant. 49 U.S.C. § 30106.
18
           3.     On January 15, 2022, some seven months after serving Overland
19
20   West, and nearly four years after the motor vehicle accident, the Wards were
21
     served with the Summons and Complaint. See Ex. 1 at 37.
22
           4.     This is a civil action of which this Court has original jurisdiction
23

24   pursuant to 28 U.S.C. § 1332 (diversity jurisdiction) and is one which may be
25
     removed to this Court by the Wards pursuant to the provisions of 28 U.S.C. §
26
27   NOTICE OF REMOVAL - PAGE 2                                          PAINE HAMBLEN LLP
                                                          717 WEST SPRAGUE AVENUE, SUITE 1200
28                                                             SPOKANE, WASHINGTON 99201-3505
                                                                           PHONE (509) 455-6000
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 1   1441(c). The parties in this case are completely diverse, i.e., each of the
 2
     plaintiffs are citizens of a different state than each of the defendants. Morris v.
 3

 4   Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001) (citing Caterpillar
 5   Inc. v. Lewis, 519 U.S. 61, 68, 117 S. Ct. 467, 136 L.Ed.2d 437 (1996)).
 6
             5.    Plaintiffs are citizens of the State of Washington. See Ex. 1 at 4.
 7

 8           6.    Overland West, Inc. is incorporated in the State of Utah and its
 9   principal place of business, the place where Overland West’s officers direct,
10
     control, and coordinate the corporation’s activities, i.e., Overland West’s “nerve
11

12   center,” Hertz Corp. v. Friend, 559 U.S. 77, 92–93, 130 S. Ct. 1181, 1192, 175
13   L. Ed. 2d 1029 (2010), is located in Ogden, Utah. Thus, Overland West, Inc. is
14
     a citizen of Utah. 28 U.S.C. § 1332(c).
15

16           7.    The Wards maintain their true, fixed, and permanent home in
17   Meriden, Connecticut. Thus, the Wards are citizens of Connecticut. See Ex. 1 at
18
     4.
19
20           8.    The Complaint does not state a specific dollar amount for money
21
     damages sought. Prior to removal, undersigned counsel inquired with Plaintiff’s
22
     counsel regarding Plaintiffs’ alleged damages. Plaintiff’s counsel would not
23

24   concede that the amount in controversy is less than $75,000; accordingly, on
25
     information and belief, the amount in controversy exceeds $75,000.
26
27   NOTICE OF REMOVAL - PAGE 3                                           PAINE HAMBLEN LLP
                                                           717 WEST SPRAGUE AVENUE, SUITE 1200
28                                                              SPOKANE, WASHINGTON 99201-3505
                                                                            PHONE (509) 455-6000
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 1         9.      Thirty (30) days have not yet expired since this action became
 2
     removable by the Wards to the United States District Court, Eastern District of
 3

 4   Washington.
 5         10.     Venue is proper in the Eastern District of Washington, pursuant to
 6
     28 U.S.C. § 1391(b), on the grounds that a substantial part of the events giving
 7

 8   rise to the claim (i.e., the subject car accident) occurred within the Eastern
 9   District of Washington.
10
           11.     Pursuant to 28 U.S.C. § 1446(d), the Wards are giving written
11

12   notice of the removal of this action to counsel for the Plaintiffs and filing a copy
13   of the written notice with the Spokane County Superior Court Clerk.
14
           WHEREFORE, Defendants Ward request that the above-entitled action
15

16   be removed from Spokane County Superior Court to the United States District
17   Court for Eastern District of Washington.
18
           DATED this 14th day of February, 2022.
19
20                                         PAINE HAMBLEN LLP
21

22                                         By: /s/ Paul S. Stewart
                                               SCOTT C. CIFRESE
23
                                               WSBA No. 25778
24                                             PAUL S. STEWART
                                               WSBA No. 45469
25
                                               Attorneys for Defendants Ward
26
27   NOTICE OF REMOVAL - PAGE 4                                           PAINE HAMBLEN LLP
                                                           717 WEST SPRAGUE AVENUE, SUITE 1200
28                                                              SPOKANE, WASHINGTON 99201-3505
                                                                            PHONE (509) 455-6000
         Case 2:22-cv-00023-MKD                  ECF No. 1   filed 02/14/22   PageID.5 Page 5 of 5



 1

 2
                                           CERTIFICATE OF SERVICE
 3

 4         I HEREBY CERTIFY that on the 14th day of February, 2022, I caused to
     be served the foregoing NOTICE OF REMOVAL by the method indicated
 5   below and addressed to the following:
 6
               VIA CM/ECF SYSTEM                                  John Bardelli
 7       X     VIA U.S. MAIL (Postage Prepaid)                    N 606 Pines Rd., Suite 201
 8             VIA OVERNIGHT MAIL                                 Spokane, WA 99216
     X         VIA EMAIL                                          jabardelli@aol.com
 9
10             VIA CM/ECF SYSTEM                                  David B. Jensen
         X     VIA U.S. MAIL (Postage Prepaid)                    1299 Zurich Way, Suite 460
11             VIA OVERNIGHT MAIL                                 Schaumburg, IL 60196
12   X         VIA EMAIL                                          David.b.jensen@zurichna.com
13

14

15

16                                                  /s/ Paul S. Stewart
                                                   SCOTT C. CIFRESE
17                                                 WSBA No. 25778
18                                                 PAUL S. STEWART
                                                   WSBA No. 45469
19
                                                   Attorneys for Defendants Ward
20                                                 Paine Hamblen LLP
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                                                   Spokane, WA 99201-3505
22                                                 (509) 455-6183
                                                   Fax: (509) 838-0007
23
                                                   E-mail: scott.cifrese@painehamblen.com
24                                                 E-mail: paul.stewart@painehamblen.com
25
     i:\spodocs\00407\00072\plead\02110969.doc
26
27   NOTICE OF REMOVAL - PAGE 5                                                       PAINE HAMBLEN LLP
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28                                                                          SPOKANE, WASHINGTON 99201-3505
                                                                                        PHONE (509) 455-6000
